  Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 1 of 36 PageID #: 1



                      UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                             CENTRAL DIVISION



  IN THE MATTER OF THE SEARCH OF: CASE NUMBER: 5-'^">W( '77
  The content of the CD/DVD containing
  the search warrant production of          SEARCH WARRANT
  Google Gmail Account, downloaded and
  currently in the possession of FBI
  Special Agent Benjamin Plante.

TO:   SPECIAL AGENT BENJAMIN PLANTE AND ANY AUTHORIZED LAW
      ENFORCEMENT OFFICER OF THE UNITED STATES

      An application by a federal law enforcement officer or an attorney for the

government requests the search of the following property located in the District

of South Dakota: The content of the CD/DVD containing the search warrant

production of Google Gmail Account, downloaded and currently in the

possession of FBI Special Agent Benjamin Plante.

      The property to be searched, described above, is believed to conceal

property which constitutes evidence of the commission of a criminal offense,

contraband, the fruits of crime, or things otherwise criminally possessed, or

property designed or intended for use or which is or has been used as the means

of committing a criminal offense, concerning a violation of 18 U.S.C. §§ 2251,

2252, and 2252A.

      I find that the Application and Affidavit of Benjamin Plante, hereinafter

incorporated by this reference, establish probable cause to search the account

described in Attachment A and seize the items described in Attachment B.

                                                           CC :              ITU.lU
   Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 2 of 36 PageID #: 2


      YOU ARE COMMANDED to execute this warrant on or before

                                            exceed 14 days)

              the daytime - 6:00 a.m. to 10:00 p.m.

      □ at any time in the day or night asI find reasonable cause has been

      established.


      Unless delayed notice is authorized below, you must give a copy of the

warrant and a receipt for the property taken to the person from whom, or from

whose premises, the property was taken, or leave the copy and receipt at the

place where the property was taken.

      The officer executing this warrant, or an officer present during the

execution of the warrant, must prepare an inventory as required by law and

promptly return this warrant and inventory to Mark A. Moreno, United States

Magistrate Judge, or his designee.

      □ I find that immediate notification may have an adverse result listed in

18 U.S.C. § 2705 (except for delay of trial), and authorize the officer executing

this warrant to delay notice to the person who, or whose property, will be

searched or seized,

      □ for            days (not to exceed 30).

      □ until, the facts justifying, the later specific date of




                                      at Pierre, South Dakota
Date and Time Issued



                                       MARK A. MORENO
                                       United States Magistrate Judge
      Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 3 of 36 PageID #: 3




                                         RETURN

Case no.:             Date and time warrant          Copy of warrant and inventoiy left
                      executed:                      with:




Inventory made in the presence of:



Inventoiy of the property taken and name of any person(s) seized:




                                     CERTIFICATION

I declare under penalty of perjuiy that this inventoiy is correct and was returned along
with the original warrant to the designated clerk of court.
  Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 4 of 36 PageID #: 4




                                  ATTACHMENT A
                 DESCRIPTION OF LOCATION TO BE SEARCHED



      The November 4, 2019, CD/DVD containing the content of the Gmail account

associated with Dustin Joe Red Legs, currently in the possession of the Federal

Bureau of Investigation, or any replacement CD/DVD downloaded from LERS if the

current CD/DVD was not properly downloaded.
  Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 5 of 36 PageID #: 5




                                ATTACHMENT B


                        Particular Things to be Seized

      Attachment A will be searched for the following information to the

government for each user ID listed in Attachment A,for the time period of June

1, 2018, through the date of this order:


      a.    The contents of all emails associated with the account from June
            1, 2018, to present, including stored or preserved copies of emails
            sent to and from the account, draft emails, the source and
            destination addresses associated with each email, the date and
            time at which each email was sent, and the size and length of
            each email;

      b.    All records or other information regarding the identification of the
            account, to include full name, physical address, telephone
            numbers and other identifiers, records of session times and
            durations, the date on which the account was created, the length
            of service, the IP address used to register the account, log-in IP
            addresses associated with session times and dates, account
            status, alternative email addresses provided during registration,
            methods of connecting, log files, and means and source of
            payment(including any credit or bank account number);

      c.    For the time period from June 1, 2018, to present: The contents
            of all communications and related transactional records for all
           Provider services used by the account subscriber/user (for
           example, electronic communication services such as Google
           Voice, Hangouts, Google Groups, Google Photos, and YouTube;
           web browsiag and search tools such as Google Search, Web
           History, and Google Chrome; online productivity tools such as
           Google Calendar, Google Contacts, Google Docs, Google Keep
           (storing text), Google Drive (cloud storage), Google Maps (maps
           with driving directions and local business search) and other
           location services, and Language Tools (text translation); and
           online tracking and advertising tools such as Google Analytics
           (tracking and reporting on website traffic) and Google AdWords
           (user targeting based on search queries)), including but not
           limited to incoming, outgoing, and draft e-mails, messages, calls,
           chats, and other electronic communications; attachments to
           communications (including native files); source and destination
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 6 of 36 PageID #: 6




         addresses and header or routing information for each
         conununication (including originating IP addresses of e-mails); the
         date, size, and length of each communication; and any user or
         device identifiers linked to each communication (including
         cookies);

    d.   For the time period June 1, 2018, to present: The contents of all
         other data and related transactional records for all Provider
         services used by an account user (such as e-mail services,
         calendar services, file sharing or storage services, photo sharing or
         storage services, remote computing services, instant messaging or
         chat services, voice call services, or remote computing services
         (for example, electronic communication services such as Google
         Voice, Hangouts, Google Groups, Google Photos, and YouTube;
         web browsing and search tools such as Google Search, Web
         Histoiy, and Google Chrome; online productivity tools such as
         Google Calendar, Google Contacts, Google Docs, Google Keep
         (storing text), Google Drive (cloud storage), Google Maps(maps
         with driving directions and local business search) and other
         location services, and Language Tools (text translation); and online
         tracking and advertising tools such as Google Analytics (tracking
         and reporting on website"traffic) and Google AdWords (user
         targeting based on search queries)), including any information
         generated, modified, or stored by user(s) or Provider in connection
         with the account(such as contacts, calendar data, images, videos,
         notes, documents, bookmarks, profiles, device backups, and any
         other saved information);

    e.   For the time period June 1, 2018, to present: All Provider records
         concerning the online search and browsing histoiy associated
         with the account or its users (such as information collected
         through tracking cookies);

   f.    For the time period June 1, 2018, to present: All records and
         other information concerning any document, or other computer
         file created, stored, revised, or accessed in connection with the
         account or by an accoimt user, including the contents and
         revision histoiy of each document or other computer file, and aH
         records and other information about each connection made to or
         from such document or other computer file, including the date,
         time, length, and method of connection; server log records; data
         •transfer volume; and source and destination IP addresses and
         port numbers;



                                     2
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 7 of 36 PageID #: 7




    g.   All records regarding identification of the account, including
         names, addresses, telephone numbers, alternative e-mail
         addresses provided during registration, means and source of
         payment (including any credit card or bank account number),
         records of session times and durations (including IP addresses,
         cookies, device information, and other identifiers linked to those
         sessions), records of account registration (including the IP
         address, cookies, device information, and other identifiers Hnked
         to account registration), length of service and lypes of services
         utilized, account status, methods of connecting, and server log
         files;


    h.   All device or user identifiers which have ever been linked to the
         account, including but not limited to all cookies and similar
         technologies, unique application numbers, hardware models,
         operating system versions, device serial numbers, Global Unique
         Identifiers ("GUID"), mobile network information, telephone
         numbers. Media Access Control ("MAC") addresses, and
         International Mobile Equipment Identities ("IMEI");


    i.   Basic subscriber records and login histoiy (including, as described
         in 18 U.S.C. § 2703(c)(2), names, addresses, records of session
         times and durations, length of service and types of service utilized,
         instrument numbers or other subscriber numbers or identities, and
         pa5ment information) concerning any Provider account (including
         both current and historical accounts) ever linked to the account by
         a common e-mail address (such as a common recoveiy e- mail
         address), or a common telephone number, means of payment (e.g.,
         credit card number), registration or login IP addresses (during one-
         week period), registration or login cookies or similar technologies,
         or any other imique device or user identifier;

   j.    For the time period June 1, 2018: All records of communications
         between Provider and any person regarding the account,
         including contacts with support services and records of actions
         taken;

    k.   All records, documents, files, and information relating to or stored
         on any of the following services: Android, Gmail, Google Books,
         Google Calendar, Google Chrome Sync, Google Cloud Print,
         Google Docs, Google Groups, Google Hangouts, Google Maps,
         Google My Maps, Google Sites, Google URL Shortener, Google
         Voice, Location Histoiy, YouTube.
 Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 8 of 36 PageID #: 8




        1.     All records pertaining to communications between the Provider
               and any person regarding the account, including contacts with
               support services and records of actions taken; and

        m.     For all information required to be disclosed pursuant to this
               warrant, the physical location or locations where the information
               is stored.


   n.        Information to be seized by the government

        All information described above in Section I that constitutes fruits,

contraband, evidence, and instrumentalities of violations of 18 U.S.C. §§

2252, those violations involving the user of the Provider account

dustinjoeredlegs@gmail.com and occurring after June 1, 2018, including, for

each account or identiFier listed on Attachment A, information pertaining to

the following matters:

     (a) All records, information, and communications, in whatever form,
         concerning violations of 18 U.S.C. §§ 2252;

     (b) AIL records, information, and communications regarding Dustin Red
         Legs' calendar, schedule, meetings, phone calls, to-do lists, or
             travel;

     (c) All bank records, check, credit card bills, account information,
         tax filings, and other financial documents;

     (d) Evidence indicating how and when the email account was accessed
         or used, to determine the geographic and chronological context of
         account access, use, and events relating to the crime under
         investigation and to the email account owner;

     (e) Evidence indicating the email account owner's state of mind as it
             relates to the crime under investigation;

     (Q The identity of the person(s) who created or used the user
        account, including records that help reveal the whereabouts of
             such person(s);
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 9 of 36 PageID #: 9




    (g) The identity of the person(s) who communicated with the user
       account about matters relating to the 18 U.S.C. §§ 2252,
       including records that help reveal their whereabouts.
 Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 10 of 36 PageID #: 10



                      UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                              CENTRAL DIVISION




  IN THE MATTER OF THE SEARCH OF: CASE NUMBER: 2>- /                  '77
  The content of the CD/DVD containing
  the search warrant production of          APPLICATION FOR
  Google Gmail Account, downloaded and      SEARCH WARRANT
  currently in the possession of FBI
  Special Agent Benjamin Plante.

      I, Benjamin Plante, being first duly sworn upon oath, depose and state as

follows:


      I have reason to believe that within the CD/DVD previously provided by

Google pursuant to a search warrant for the Gmail account

"dustinjoeredlegs@gmaiI.com, here is now concealed certain property, namely:

that described in the attached Affidavit in Support of Request for Search

Warrant and Attachment A which I believe is property constituting evidence of

the commission of a criminal offense, contraband, the fruits of crime, or things

otherwise criminally possessed, or property designed or intended for use or

which is or has been used as the means of committing a criminal offense,

concerning a violations of 18 U.S.C. §§ 2251, 2252, and 2252A.
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 11 of 36 PageID #: 11




      The facts to support a finding of probable cause are contained in my

Affidavit filed herewith, and attached hereto and incorporated by this reference.


Respectfully Submitted,



    lamin Plante
  fecial Agent, Federal Bureau of Investigation



      Sworn to before me, and subscribed in my presence on the 8th day of

November 2019, at Pierre, South Dakota.



MARK A. MORENO
United States Magistrate Judge
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 12 of 36 PageID #: 12




                                  ATTACHMENT A
                 DESCRIPTION OF LOCATION TO BE SEARCHED



      The November 4, 2019, CD/DVD containing the content of the Gmail account

associated with Dustin Joe Red Legs, currently in the possession of the Federal

Bureau of Investigation, or any replacement CD/DVD downloaded from LERS if the

current CD/DVD was not properly downloaded.
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 13 of 36 PageID #: 13




                               ATTACHMENT B


                        Particular Things to be Seized

      Attachment A will be searched for the following information to the

government for each user ID listed in Attachment A, for the time period of June

1, 2018, through the date of this order:


      a.    The contents of all emails associated with the account from June
            1, 2018, to present, including stored or preserved copies of emails
            sent to and from the account, draft emails, the source and
            destination addresses associated with each email, the date and
            time at which each email was sent, and the size and length of
            each email;

      b.    All records or other information regarding the identification of the
            account, to include full name, physical address, telephone
            numbers and other identifiers, records of session times and
            durations, the date on which the account was created, the length
            of service, the IP address used to register the account, log-in IP
            addresses associated with session times and dates, account
            status, alternative email addresses provided during registration,
            methods of connecting, log files, and means and source of
            payment(including any credit or bank account number);

      c.    For the time period from June 1, 2018, to present: The contents
            of all communications and related transactional records for all
           Provider services used by the account subscriber/user (for
           example, electronic communication services such as Google
           Voice, Hangouts, Google Groups, Google Photos, and YouTube;
           web browsing and search tools such as Google Search, Web
           Histoi^r, and Google Chrome; online productivity tools such as
           Google Calendar, Google Contacts, Google Docs, Google Keep
           (storing text), Google Drive (cloud storage), Google Maps(maps
           with driving directions and local business search) and other
           location services, and Language Tools (text translation); and
           online tracking and advertising tools such as Google Analytics
           (tracking and reporting on website traffic) and Google AdWords
           (user targeting based on search queries)), including but not
           limited to incoming, outgoing, and draft e-mails, messages, calls,
           chats, and other electronic communications; attachments to
           communications (including native files); source and destination
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 14 of 36 PageID #: 14




           addresses and header or routing information for each
           communication (including originating IP addresses of e-maiLs); the
           date, size, and length of each communication; and any user or
           device identifiers linked to each communication (including
           cookies);

      d.   For the time period June 1, 2018, to present: The contents of all
           other data and related transactional records for all Provider
           services used by an accoimt user (such as e-mail services,
           calendar services, file sharing or storage services, photo sharing or
           storage services, remote computing services, instant messaging or
           chat services, voice call services, or remote computing services
           (for example, electronic communication services such as Google
           Voice, Hangouts, Google Groups, Google Photos, and YouTube;
           web browsing and search tools such as Google Search, Web
           Histoiy, and Google Chrome; online productivity tools such as
           Google Calendar, Google Contacts, Google Docs, Google Keep
           (storing text), Google Drive (cloud storage), Google Maps(maps
           with driving directions and local business search) and other
           location services, and Language Tools (text translation); and online
           tracking and advertising tools such as Google Analytics (tracking
           and reporting on website traffic) and Google AdWords (user
           targeting based on search queries)), including any information
           generated, modified, or stored by user(s) or Provider in connection
           with the account (such as contacts, calendar data, images, videos,
           notes, documents, bookmarks, profiles, device backups, and any
           other saved information);

     e.    For the time period June 1, 2018, to present: All Provider records
           concerning the onHne search and browsing history associated
           with the account or its users (such as information collected
           through tracking cookies);

     f.    For the time period June 1, 2018, to present: All records and
           other information concerning any document, or other computer
           file created, stored, revised, or accessed in connection with the
           account or by an account user, including the contents and
           revision histoiy of each document or other computer file, and all
           records and other information about each connection made to or
           from such document or other computer file, including the date,
           time, length, and method of connection; server log records; data
           transfer volume; and source and destination IP addresses and
           port numbers;
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 15 of 36 PageID #: 15




     g.   All records regarding identification of the account, including
          names, addresses, telephone numbers, alternative e-mail
          addresses provided during registration, means and source of
          payment (including any credit card or bank account number),
          records of session times and durations (including IP addresses,
          cookies, device information, and other identifiers linked to those
          sessions), records of account registration (including the IP
          address, cookies, device information, and other identifiers linked
          to account registration), length of service and types of services
          utilized, account status, methods of connecting, and server log
          files;

     h.    All device or user identifiers which have ever been linked to the
          account, including but not limited to all cookies and similar
          technologies, unique application numbers, hardware models,
          operating system versions, device serial numbers. Global Unique
          Identifiers ("GUID"), mobile network information, telephone
          numbers, Media Access Control ("MAC") addresses, and
          International Mobile Equipment Identities ("IMEI");


     i.   Basic subscriber records and login history (including, as described
          in 18 U.S.C. § 2703(c)(2), names, addresses, records of session
          times and durations, length of service and types of service utilized,
          instrument numbers or other subscriber numbers or identities, and
           payment information) concerning any Provider account (including
           both current and historical accounts) ever linked to the account by
           a common e-mail address (such as a common recovery e- mail
           address), or a common telephone number, means of payment (e.g.,
           credit card number), registration or login IP addresses (during one-
           week period), registration or login cookies or similar technologies,
           or any other unique device or user identifier;

     j.   For the time period June 1, 2018: All records of communications
          between Provider and any person regarding the account,
          including contacts with support services and records of actions
           taken;

     k.    All records, documents, files, and information relating to or stored
           on any of the following services: Android, Gmail, Google Books,
           Google Calendar, Google Chrome Sync, Google Cloud Print,
           Google Docs, Google Groups, Google Hangouts, Google Maps,
           Google My Maps, Google Sites, Google URL Shortener, Google
           Voice, Location Histoiy, YouTube.
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 16 of 36 PageID #: 16




        1.     All records pertaining to communications between the Provider
               and any person regarding the account, including contacts with
               support services and records of actions taken; and

        m.     For all information required to be disclosed pursuant to this
               warrant, the physical location or locations where the information
               is stored.


   n.        Information to be seized by the government

        All information described above in Section I that constitutes fruits,

contraband, evidence, and instrumentalities of violations of 18 U.S.C. §§

2252, those violations involving the user of the Provider account

dustinjoeredlegs@gmail.com and occurring after June 1, 2018, including, for

each account or identifier listed on Attachment A, information pertaining to

the following matters:

     (a) All records, information, and communications, in whatever form,
         concerning violations of 18 U.S.C. §§ 2252;

     (b) All records, information, and communications regarding Dustin Red
         Legs' calendar, schedule, meetings, phone calls, to-do lists, or
             travel;

     (c) All bank records, check, credit card bills, account information,
         tax filings, and other financial documents;

     (d) Evidence indicating how and when the email account was accessed
         or used, to determine the geographic and chronological context of
         account access, use, and events relating to the crime under
         investigation and to the email account owner;

     (e) Evidence indicating the email account owner's state of mind as it
         relates to the crime under investigation;

     {f) The identity of the person(s) who created or used the user
         accoimt, including records that help reveal the whereabouts of
         such person(s);
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 17 of 36 PageID #: 17




     (g) The identity of the person(s) who communicated with the user
        account about matters relating to the 18 U.S.C. §§ 2252,
        including records that help reveal their whereabouts.
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 18 of 36 PageID #: 18




                       UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                               CENTRAL DIVISION




  IN THE MATTER OF THE SEARCH OF:               CASE NUMBER     :              -77
  The content of the CD/DVD containing         AFFIDAVIT IN SUPPORT OF
  the search warrant production of Google      REQUEST FOR
  Gmail Account, downloaded and                SEARCH WARRANT
  currently in the possession of FBI
  Special Agent Benjamin Plante.


STATE OF SOUTH DAKOTA           )
                                )
COUNTY OF HUGHES                )

      I, Benjamin Plante, being first duly sworn upon oath, depose and state as

follows:

                 INTRODUCTION AND AGENT BACKGROUND


      1.      I am employed as a Special Agent with the Federal Bureau of

Investigation (FBI).   I have been employed with the FBI since January 2018.

From January to May 2018, I received training at the FBI academy, receiving

training in all matters related to criminal investigations including but not limited

to: evidence collection, search and arrest warrants, and criminal procedures. I

currently am assigned to work violent crimes in Indian Country at the Pierre

Resident Agency. As a Federal Agent, I am authorized to investigate violations

of federal law of the United States and am a law enforcement officer with

authority to execute warrants issued under the authority of the United States.
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 19 of 36 PageID #: 19




      2.     The facts set forth in this affidavit are based on the following: my

own personal knowledge, knowledge obtained from other individuals during my

participation in this investigation, including other law enforcement officers;

interviews of witnesses; my review of     records related to this investigation;

communications with others who have knowledge of the                 events and

circumstances described herein; and information gained through my training

and experience. Because this affidavit is submitted for the limited purpose of

establishing probable cause for the requested warrant, it does not set forth all

of my knowledge regarding this matter.

       3.    Based on my training and experience and the facts as set forth in

this affidavit, there is probable cause to beUeve that the specified crimes have

 been committed by Dustin Joe Red Legs, who is - for the reasons set forth

 below - believed to be the user of the captioned account. There is also probable

cause to search the information described in       Attachment A for evidence,

instrumentalities, contraband, and/or fruits of the specified crimes further

 described in Attachment B.


                            PROBABLE CAUSE


       4.    On September 25, 2018, Amy Pritzkau contacted Cheyenne River

Sioux Tribe law enforcement (CRSTLE), indicating that she had found

 photographs of her daughter's vaginal area in her ex-bojdriend's email

account. Cheyenne River Sioux Tribe Law Enforcement (CRSTLE) Detective

 Gordon Runs After Jr. and CRSTLE Officer Michael Condon initiated an

investigation.
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 20 of 36 PageID #: 20




      5.    Pritzkau notified Detective Runs After, that on September 23,

2018, she provided her ex-boyfriend, Dustin Red Legs, with a place to stay at

her residence located at 518 South Willow Street, Apartment 2, Eagle Butte,

South Dakota.


      6.    Pritzkau advised Detective Runs After that she had found drugs

in Red Legs' wallet in the past, so she searched his wallet for drugs on

September 24, 2018. During this search, Pritzkau located a piece "of paper

with an email address (dustinjoeredlegs@gmail.com) and password on it.

      7.    Pritzkau told Detective Runs After that on September 25, 2018,

she accessed the email account dustinjoeredlegs@gmail.com. In doing so,

Pritzkau found two pictures of a vagina.      After examining the pictures,

Pritzkau indicated to Detective Runs After that she believed that the pictures

were of,her daughter Lola Big Eagle, date of birth March 13, 2008. Pritzkau

believed she recognized clothing, bedding, and an injury located on her

daughter's hand. Pritzkau then took screenshots of the photos located on this

email account with her Samsung phone. The pictures were time stamped:

September 24, 2018. Pritzkau told Detective Runs After that she remembered

seeing Red Legs go into the room where the two oldest kids were sleeping a

few times on September 24, 2018.

      8.    Detective   Runs   After   contacted   the   Federal   Bureau   of

Investigation to assist in this investigation. On September 25, 2018, your

Affiant spoke with Pritzkau. She specified that the items in the pictures that

helped her identify her daughter were the following: an injuiy on the index
                                       3
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 21 of 36 PageID #: 21




finger of the female's right hand, a comforter, a zebra blanket, black shorts,

and white underwear. The items led her to believe that the female was Lola

Big Eagle. Big Eagle was present, and the injury was observed by your Affiant,

and photographed by personnel at the Child Assessment Center in Pierre,

South Dakota. Pritzkau then showed your Affiant the pictures located on her

Samsung phone. Your Affiant was able to confirm that the material was

pornographic and took photographs of these screenshots but before your

Affiant was able to better inspect the iinages the phone's battery died. Upon

reviewing the photographs taken by your Affiant, what appears to be a zebra

blanket, black shorts, and white underwear were all visible in the

photographs. The black shorts and white underwear were later collected from

Pritzkau at her residence. Pritzkau then provided her consent to search the

phone to your Affiant, and on October 3, 2018, Intelligence Analyst Justin

Pederson, assigned to the NPSTDETF, completed a logical extraction of the

Samsung phone. This extraction demonstrated that the previously mentioned

email account dustinjoeredlegs@gmail.com was still open on her phone, but

this email account was not accessed during this initial search.

      9.    Pritzkau also disclosed to your Affiant that after accessing these

photos, Dustin Red Legs called her and asked her if she had a certain type of

Samsung phone. Pritzkau believed that Red Legs received an email

notification advising a mobile device had accessed his email account when

she logged into the account with her Samsung phone. When Pritzkau told

Red Legs that she did not know if she had that type of Samsung phone. Red
                                      4
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 22 of 36 PageID #: 22




Legs replied, "oh shit" and hung up on her.

       10.   On September 25, 2018, at approximately between 10 p.m. and

11 p.m.. Red Legs contacted Pritzkau on her Facebook account. Red Legs

stated that he "fucked up", that he was going to shut his phone off forever,

and that he wanted to kill himself.


      11.    On October 10, 2018, Intelligence Analyst Pederson executed the

search warrant on Pritzkau's Samsung phone and completed two extractions

on the device. The extractions revealed pictures of a child's vaginal area, a

child who is believed to be Lola Big Eagle as the child had an injury on her

right index finger and was wearing black shorts and white underwear. The

results of these extractions revealed that the aforementioned pornographic

images appeared to be in a Google Photos folder. Based on my training,

knowledge, and experience, I have a reason to believe that this Google Photos

folder was contained within the account's Google Drive.

      12.    A search warrant for the captioned account was obtained on August

12, 2019, but Google did not address the request before the search warrant had

expired on August 26, 2019. No documents were received from Google by your

Affiant.

      13. On October 8, 2019, the United States Magistrate Judge Mark A.

Moreno signed a second search warrant for the captioned account.

      14.    I, SA Plante, executed the Court's search warrant in this matter

on October 17, 2019 by serving it on Google. Google did not provide the

responsive materials within 14 days of the issuance of this Court's search
                                      5
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 23 of 36 PageID #: 23




warrant. Google advised me on October 30, 2019 that the responsive materials

were available for download via Google's Law Enforcement Request System

(LERS). On November 4, 2019,1 downloaded the materials to a CD/DVD.I have

not reviewed the responsive materials and have not provided access to any

other person to review them. It is my understanding that the United States

seeks this additional warrant to review the responsive materials out of an

abundance of caution to comply with the issue raised in the recent decision in

United States v. Nyah, 928 F.3d 694       Cir. 2019).

      15.   Based on my training, knowledge, and experience as a law

enforcement officer, I know that persons involved in the distribution of child

pornography often keep records that include names and telephone numbers

of customers, distributers, and other co-conspirators. Additionally, persons

involved in the distribution of child pornography often have lists of persons

who also distribute child pornography. Such lists may be maintained

electronically on email accounts. I am also aware that individuals involved

with the distribution of child pornography communicate through multiple

medias, including telephone calls, text messages, emails, and Facebook

messages.


      16.   Based upon my training and experience, I know that electronic

files may be important to a criminal investigation in that they may be used to

coordinate sales or purchases, to manage the records of a child pornography

organization, or to store images or video that may be evidence of observation,

possession, or distribution of child pornography. The warrant application in
                                      6
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 24 of 36 PageID #: 24



this case requests permission to search the email account may be relevant to

the possession or distribution of child pornography, because this account may

contain files, text, images and/or video of pornographic activity involving a

minor. I believe that in this case, the email account is a container for evidence

and instrumentalities of the crime under investigation.

      17.    It is further reasonable to believe that pornographic images of a

minor may be stored in the target e-mail account for the reasons set forth in

paragraphs above.

      18.    Based upon the information above, I have probable cause

to believe that Dustin Joe Red Legs used the captioned account to

commit the specified crimes.

           BACKGROUND CONCERNING EMAIL / ONLINE STORAGE


      19.    In general, an email that is sent to a Google subscriber is stored

in the subscriber's "mail box" on Google's servers until the subscriber deletes

the email. If the subscriber does not    delete the message, the message can

remain on Google's servers indefinitely. Even if the subscriber deletes the

email, it may continue to be available on Google's servers for a certain period

of time.


      20.    In my training and experience, I have learned that Google

provides a variety of on-line services, including electronic mail ("email")

access, to the public. Google allows subscribers to obtain email accounts at

the domain name gmail.com, like the email aceount listed in Attaehment A.

Subscribers obtain an account by registering with Google. During the
                                        7
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 25 of 36 PageID #: 25




registration process, Google asks subscribers to provide basic personal

information. Therefore, the computers of Google are likely to contain stored

electronic communications (including retrieved and unretrieved email for

Google subscribers) and information concerning subscribers and their use of

Google services, such as account access information, email transaction

information, and account application information. In my training and

experience, such information may constitute evidence of the crimes under

investigation because the information can be used to identify the account's

user or users.



      21.   A Google subscriber can also store with the provider files in

addition to emails, such as address books, contact or buddy lists, calendar

data, chat history, pictures (other than ones attached to emails), bookmarks

and other files, including files associated with linked Google Documents

applications, on servers maintained and/or owned by Google. In my training

and experience, evidence of who was using an email account may be found in

address books, contact or buddy lists, email in the account, and attachments

to emails, including pictures and files. Services offered by Google include

electronic communication services such as Google Voice (voice calls,

voicemail, and SMS text messaging). Hangouts (instant messaging and video

chats), Google Groups (group discussions), Google Photos (photo sharing),

and YouTube (video sharing); web browsing and search tools such as Google

Search (internet searches). Web Histoiy (bookmarks and recorded browsing

histoiy), and Google Chrome (web browser); online productivity tools such as
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 26 of 36 PageID #: 26




Google Calendar, Google Contacts, Google Docs (word processing), Google

Keep (storing text), Google Drive (cloud storage), Google Maps(maps with

driving directions and local business search) and other location services, and

Language Tools (text translation); online tracking and advertising tools such

as Google Analytics (tracking and reporting on website traffic) and Google

AdWords (user targeting based on search queries); Pixel Phone (services

which support a Google smartphone); and Google Play (which allow users to

purchase and download digital content, e.g., applications).

       22.    In my training and experience, email providers generally ask

their subscribers to provide certain personal identifying information when

registering for an email account. Such information can include the

subscriber's full name, physical address, telephone numbers and other

identifiers, alternative email addresses, and, for paying subscribers, means

and source of payment (including any credit or bank account number). In

my training and experience, such information may constitute evidence of

the crimes under investigation because the information can be used to

identify the account's user or users. Based on my training and my

experience, I know that, even if subscribers insert false information to

conceal their identity, this information often provides clues to their identity,

location, or illicit activities.

       23.    In my training and experience, email providers typically retain

certain transactional information about the creation and use of each account

on their systems. This information can include the date on which the
                                        9
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 27 of 36 PageID #: 27




account was created, the length of service, records of log-in (i.e., session)

times and durations, the types of service utilized, the status of the account

(including whether the account is inactive or closed), the methods used to

connect to the account (such as logging into the account via the provider's

website), and other log files that reflect usage of the account. In addition,

email providers often have records of the Internet Protocol address ("IP

address") used to register the account and the IP addresses associated with

particular logins to the account. Because eveiy device that connects to the

Internet must use an IP address, IP address information can help to identify

which computers or other devices were used to access the email account.

      24.   In my training and experience, in some cases, email account

users will communicate directly with an email service provider about issues

relating to the account, such as technical problems, billing inquiries, or

complaints from other users. Email providers typically retain records about

such communications, including records of contacts between the user and

the provider's support services, as well as records of any actions taken by the

provider or user as a result of the communications. In my training and

experience, such information may constitute evidence of the crimes under

investigation because the information can be used to identify the account's

user or users.



      25.   As explained herein, information stored in connection with an

email account may provide crucial evidence of the "who, what, why, when,

where, and how" of the criminal conduct under investigation, thus enabling
                                       10
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 28 of 36 PageID #: 28




the United States to establish and prove each element or alternatively, to

exclude the innocent from further suspicion. In my training and experience,

the information stored in connection with an email account can indicate who

has used or controlled the account. This "user attribution" evidence is

analogous to the search for "indicia of occupancy" while executing a search

warrant at a residence. For example, email communications, contacts lists,

and images sent (and the data associated with the foregoing, such as date

and time) may indicate who used or controlled the account at a relevant time.

Further, information maintained by the email provider can show how and

when the account was accessed or used. For example, as described below,

email providers typically log the Internet Protocol (IP) addresses from which

users access the email account, along with the time and date of that access.

By determining the physical location associated with the logged IP addresses,

investigators can understand the chronological and geographic context of the

email account access and use relating to the crime under investigation. This

geographic and timeline information may tend to either inculpate or

exculpate the account owner. Additionally, information stored at the user's

account may further indicate the geographic location of the account user at a

particular time (e.g., location information integrated into an image or video

sent via email). Last, stored electronic data may provide relevant insight into

the email account owner's state of mind as it relates to the offense under

investigation. For example, information in the email account may indicate

the owner's motive and intent to commit a crime (e.g., communications
                                       11
 Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 29 of 36 PageID #: 29




 relating to the crime), or consciousness of guilt (e.g., deleting communications

 in an effort to conceal them from law enforcement).

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED


        26. I   anticipate   executing   this   warrant   under    the   Electronic

Communications Privacy Act, in particular 18 U.S.C. § 2703, by using the

warrant to permit access to the CD/DVD I downloaded from the subpoena

response previously provided by Google according to a search warrant. The file

is particularly described in Attachment A. Upon receipt of the warrant, the

government-authorized persons will review the contents of the file(s) on the

CD/DVD to locate the items described in Attachment B.

        27. As indicated above, I have not reviewed the content of the CD/DVD

that the Google information was downloaded from LERS. If the current CD/DVD

did not download properly, SA Plante will make a replacement CD/DVD

downloaded from LERS.


                                  CONCLUSION


        28. Based on my training and experience, and the facts as set forth in

this affidavit, there is probable cause to believe that in the download of the

CD/DVD I downloaded from the subpoena response previously provided by

Google in compliance with a previous warrant, there exists evidence of a

crime, contraband, instrumentalities, and/or fruits of violations of criminal

laws as specified herein, including identification of the person who used the

electronic accounts described in Attachment A. The facts outlined above show

that the Google account, listed in Attachment A will contain evidence of the
                                         12
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 30 of 36 PageID #: 30



crimes of 18 U.S.C. §§ 2251, 2252, and 2252A, which items are more

specifically described in Attachment B. There is probable cause to believe that

the likely user of the Google account was involved in or received evidence of

the violations of the aforementioned statutes in the District of South Dakota

and elsewhere. Therefore, there is probable cause to search the download of

the CD/DVD, which contains the content of the Google/Gmail account

associated with "dustinjoeredlegs@gmail.com".

       29.   Based on the forgoing, I request that the Court issue the

proposed search warrant.


      Respectfully Submitted,


        mjamin Plante, Special Agent
      federal Bureau of Investigation



      Sworn to before me, and subscribed in my presence on the 8th day of

November, 2019, at Pierre, South Dakota.



      MARK A. MORENO
      United States Magistrate Judge




                                        13
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 31 of 36 PageID #: 31



                                  ATTACHMENT A
                 DESCRIPTION OF LOCATION TO BE SEARCHED



      The November 4, 2019, CD/DVD containing the content of the Gmail account

associated with Dustin Joe Red Legs, currently in the possession of the Federal

Bureau of Investigation, or any replacement CD/DVD downloaded from LERS if the

current CD/DVD was not properly downloaded.
 Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 32 of 36 PageID #: 32




                                ATTACHMENT B


                        Particular Things to be Seized

      Attachment A will be searched for the following information to the

government for each user ID listed in Attachment A; for the time period of June

1, 2018. through the date of this order:


      a.    The contents of all emails associated with the account from June
            1, 2018, to present, including stored or preserved copies of emails
            sent to and from the account, draft emails, the source and
            destination addresses associated with each email, the date and
            time at which each email was sent, and the size and length of
            each email;

      b.    All records or other information regarding the identification of the
            account, to include full name, physical address, telephone
            numbers and other identifiers, records of session times and
            durations, the date on which the account was created, the length
            of service, the IP address used to register the account, log-in IP
            addresses associated with session times and dates, account
            status, alternative email addresses provided during registration,
            methods of connecting, log files, and means and source of
            payment (including any credit or bank account number);

      c.    For the time period from June 1, 2018, to present: The contents
            of all communications and related transactional records for all
           Provider services used by the account subscriber/user (for
           example, electronic communication services such as Google
           Voice, Hangouts, Google Groups, Google Photos, and YouTube;
           web browsing and search tools such as Google Search, Web
           History, and Google Chrome; online productivity tools such as
           Google Calendar, Google Contacts, Google Docs, Google Keep
           (storing text), Google Drive (cloud storage), Google Maps(maps
           with driving directions and local business search) and other
           location services, and Language Tools (text translation); and
           online tracking and advertising tools such as Google Analytics
           (tracking and reporting on website traffic) and Google AdWords
           (user targeting based on search queries)), including but not
           limited to incoming, outgoing, and draft e-mails, messages, calls,
            chats, and other electronic communications; attachments to
            communications (including native files); source and destination
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 33 of 36 PageID #: 33




          addresses and header or routing information for each
          communication (including originating IP addresses of e-mails); the
          date, size, and length of each communication; and any user or
          device identifiers linked to each communication (including
          cookies);

     d.   For the time period June 1, 2018, to present; The contents of all
          other data and related transactional records for all Provider
          services used by an account user (such as e-mail services,
          calendar services, file sharing or storage services, photo sharing or
          storage services, remote computing services, instant messaging or
          chat services, voice call services, or remote computing services
          (for example, electronic communication services such as Google
          Voice, Hangouts, Google Groups, Google Photos, and YouTube;
          web browsing and search tools such as Google Search, Web
          History, and Google Chrome; online productivity tools such as
          Google Calendar, Google Contacts, Google Docs, Google Keep
          (storing text), Google Drive (cloud storage), Google Maps(maps
          with driving directions and local business search) and other
          location services, and Language Tools (text translation); and online
          tracking and advertising tools such as Google Analytics (tracking
          and reporting on website traffic) and Google AdWords (user
          targeting based on search queries)), including any information
          generated, modified, or stored by user(s) or Provider in connection
          with the account(such as contacts, calendar data, images, videos,
          notes, documents, bookmarks, profiles, device backups, and any
          other saved information);

     e.   For the time period June 1, 2018, to present: All Provider records
          concerning the online search and browsing histoiy associated
          with the account or its users (such as information collected
          through tracking cookies);

     f.   For the time period June 1, 2018, to present: All records and
          other information concerning any document, or other computer
          file created, stored, revised, or accessed in connection with the
          account or by an account user, including the contents and
          revision histoiy of each document or other computer file, and all
          records and other information about each connection made to or
          from such document or other computer file, including the date,
          time, length, and method of connection; server log records; data
          transfer volume; and source and destination IP addresses and
          port numbers;
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 34 of 36 PageID #: 34




     g.   All records regarding identification of the account, including
          names, addresses, telephone numbers, alternative e-mail
          addresses provided during registration, means and source of
          payment (including any credit card or bank account number),
          records of session times and durations (including IP addresses,
          cookies, device information, and other identifiers linked to those
          sessions), records of account registration (including the IP
          address, cookies, device information, and other identifiers linked
          to account registration), length of service and types of services
          utilized, account status, methods of connecting, and server log
          files;


     h.   All device or user identifiers which have ever been linked to the
          account, including but not limited to all cookies and similar
          technologies, unique application numbers, hardware models,
          operating system versions, device serial numbers. Global Unique
          Identifiers ("QUID"), mobile network information, telephone
          numbers. Media Access Control ("MAC") addresses, and
          International Mobile Equipment Identities ("IMEI");


     i.   Basic subscriber records and login histoiy (including, as described
          in 18 U.S.C. § 2703(c)(2), names, addresses, records of session
          times and durations, length of service and types of service utilized,
          instrument numbers or other subscriber numbers or identities, and
          payment information) concerning any Provider account (including
          both current and historical accounts) ever linked to the account by
          a common e-mail address (such as a common recoveiy e- mail
          address), or a common telephone number, means of payment (e.g.,
          credit card number), registration or login IP addresses (during one-
          week period), registration or login cookies or similar technologies,
          or any other unique device or user identifier;

     j.   For the time period June 1, 2018: All records of communications
          between Provider and any person regarding the account,
          including contacts with support services and records of actions
          taken;

     k.   All records, documents, files, and information relating to or stored
          on any of the following services: Android, Gmail, Google Books,
          Google Calendar, Google Chrome Sync, Google Cloud Print,
          Google Docs, Google Groups, Google Hangouts, Google Maps,
          Google My Maps, Google Sites, Google URL Shortener, Google
          Voice, Location History, YouTube.
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 35 of 36 PageID #: 35



        1.     All records pertaining to communications between the Provider
               and any person regarding the account, including contacts with
               support services and records of actions taken; and

        m.     For all information required to be disclosed pursuant to this
               warrant, the physical location or locations where the information
               is stored.


   U.        Information to be seized by the government

        All information described above in Section I that constitutes fruits,

contraband, evidence, and instrumentalities of violations of 18 U.S.C. §§

2252, those violations involving the user of the Provider account

dustinjoeredlegs@gmail.com and occurring after June 1, 2018, including, for

each account or identifier listed on Attachment A, information pertaining to

the following matters:

     (a) All records, information, and communications, in whatever form,
         concerning violations of 18 U.S.C. §§ 2252;

     (b) All records, information, and communications regarding Dustin Red
         Legs' calendar, schedule, meetings, phone calls, to-do lists, or
             travel;

     (c) All bank records, check, credit card bills, account information,
         tax filings, and other financial documents;

     (d) Evidence indicating how and when the email account was accessed
         or used, to determine the geographic and chronological context of
         account access, use, and events relating to the crime under
         investigation and to the email account owner;

     (e) Evidence indicating the email account owner's state of mind as it
         relates to the crime under investigation;

     (Q The identity of the person(s) who created or used the user
        account, including records that help reveal the whereabouts of
             such person(s);
Case 3:19-mj-00077-MAM Document 1 Filed 11/08/19 Page 36 of 36 PageID #: 36



     (g) The identity of the person(s) who communicated with the user
         account about matters relating to the 18 U.S.C. §§ 2252,
         including records that help reveal their whereabouts.
